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                                                                                   #:3399


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                                               LA LUZ DEL MUNDO, an alleged unincorporated association;
                                             9 COMMUNICATION CENTER BEREA U.S.A. LLC (erroneously sued as

                                            10 International Berea USA); ADORAIM JOSADAC JOAQUIN (erroneously sued as
                                               Adoraim Joaquin Zamora); ALMA ELIZABETH JOAQUIN (erroneously sued as
                                            11 Alma Zamora de Joaquin); and NAASON JOAQUIN GARCIA, an individual
DAILY ALJIAN LLP
               Newport Beach, California




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                                                 Additional attorneys and parties listed on subsequent page
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                                                                           UNITED STATES DISTRICT COURT
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                                                       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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                                                 SOCHIL MARTIN,                              Case No.: 2:20−cv−01437-FWS-AS
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                                                              Plaintiff,
                                            19                                               NOTICE OF ASSOCIATION OF
                                                       v.
                                            20                                               COUNSEL
                                                 LA LUZ DEL MUNDO, an
                                            21
                                                 unincorporated association, et al.
                                            22
                                                              Defendants.
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                                                 UZZIEL JOAQUIN, JONATHAN MENDOZA, DAVID MENDOZA,
                                                 BENJAMIN JOAQUIN, and JOSE LUIS ESTRADA
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                                                                        NOTICE OF ASSOCIATION OF COUNSEL
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                                                                               #:3401


                                             1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                             2         PLEASE TAKE NOTICE that Reed T. Aljian, Justin Daily and Simon Kwak
                                             3   of Daily Aljian LLP, counsel of record for La Luz Del Mundo, an alleged
                                             4   unincorporated association; Communication Center Berea U.S.A. LLC (erroneously
                                             5   sued as International Berea USA); Adoraim Josada Joaquin (erroneously sued as
                                             6   Adoraim Joaquin Zamora); Alma Elizabeth Joaquin (erroneously sued as Alma
                                             7   Zamora de Joaquin); and Naason Joaquin Garcia, hereby associate Geoffrey A. Neri
                                             8   and Ethan J. Brown of Brown, Neri, Smith & Khan, LLP, as co-counsel for
                                             9   Communication Center Berea U.S.A. LLC (erroneously sued as International Berea
                                            10   USA). The name, address, telephone number, fax number and email address of the
                                            11   associated counsel are as follows:
DAILY ALJIAN LLP
               Newport Beach, California




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                                                                          Geoffrey A. Neri (SBN 258802)
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                                            18         Respectfully submitted,
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                                                 DATED: January 18, 2023                 DAILY ALJIAN LLP
                                            20

                                            21                                           By:   /s/ Reed T. Aljian
                                                                                                 Reed T. Aljian
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                                            23
                                                 DATED: January 18, 2023                 BROWN, NERI, SMITH & KHAN
                                            24                                           LLP
                                            25
                                                                                         By:   /s/ Geoffrey A. Neri
                                            26                                                   Geoffrey A. Neri
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                                                                         NOTICE OF ASSOCIATION OF COUNSEL
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  1                           CERTIFICATE OF SERVICE
  2        I hereby certify that all counsel of record who are deemed to have consented
  3 to electronic service are being served with a copy of this document via the

  4 Court’s CM/ECF system on January 19, 2023.

  5
      DATED: January 19, 2023                  BROWN, NERI, SMITH & KHAN LLP
  6
                                               By:   /s/ Geoffrey A. Neri
  7                                                      Geoffrey A. Neri
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                                 CERTIFICATE OF SERVICE
